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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 09-60462-CIV-DIMITROULEAS
 GARY F. THOMPSON,

        Plaintiff,

 vs.

 BIEHL & BIEHL, INC.,

       Defendant.
 _____________________________________/

                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the Notice of Voluntary Dismissal with Prejudice

 [DE-5], filed herein on April 13, 2009. The Court has carefully considered the Notice and is

 otherwise fully advised in the premises. The Court notes that the Defendant has yet to file either

 an answer or a motion for summary judgment. Fed. R. Civ. P. 41(a)(1)(A)(i).

             Accordingly, it is ORDERED AND ADJUDGED as follows:

             1.          The Joint Stipulation [DE-5] is hereby APPROVED.

             2.          The above-styled action is hereby DISMISSED WITH PREJUDICE.

             3.          The Clerk shall deny any pending motions as moot.

             4.          The Clerk shall CLOSE this case.

             DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

 this 14th day of April, 2009.
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 Copies furnished to:
 Counsel of Record
